       Case 5:24-cv-00519-OLG             Document 11    Filed 02/10/25     Page 1 of 1


                                                                                    FILED
                                  UNITED STATES DISTRICT COURT                February 10, 2025
                                                                             CLERK, U.S. DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS                 WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION
                                                                                           NM
                                                                          BY: ________________________________
                                                                                                  DEPUTY
 MARK ORTEGA, individually and on               §
 behalf of all others similarly situated,       §
                                                §
                            Plaintiff,          §
                                                §       CIVIL NO. SA-24-CV-00519-OLG
 v.                                             §
                                                §
 SECURE ONE CAPITAL                             §
 CORPORATION,                                   §
                                                §
                            Defendant.          §

                      ORDER GRANTING MOTION TO WITHDRAW

       Before the Court is the Opposed Motion for Leave for Attorney Paulina Almanza and

Almanza Terrazas PLLC to Withdraw as Counsel for Plaintiff. Upon review of the Motion and the

additional ex parte documents submitted by counsel, the Court finds that the Motion (Dkt. No. 7)

should be and hereby is GRANTED. Paulina Almanza and Almaza Terrazas PLLC are

WITHDRAWN as counsel of record for Plaintiff.

       The Clerk is directed to serve a copy of this Order on Plaintiff by mailing a copy to Mark

Ortega at 15450 Capital Prt Dr., San Antonio, Texas 78249, via certified mail, return receipt

requested, and first-class mail.1

       It is so ORDERED.

       SIGNED this 10th day of February, 2025.

                                                           ____________________________
                                                           ORLANDO L. GARCIA
                                                           United States District Judge




       1
           See Dkt. No. 7 at 2.
